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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,               Case No. 18-20533
v.                                   District Judge Victoria A. Roberts


MICHAEL HINDS,

         Defendant.
_________________________/
             ORDER GRANTING DEFENDANT’S MOTION TO
                     SUPPRESS [ECF No. 54]
      In November 2017, Michael Hinds and two others sat parked in a

minivan when two Detroit police officers approached. In response to

questioning, one of the occupants admitted there was marijuana in the van.

What began as a Terry stop soon transformed into a custodial detention.

Despite this, the officers did not give any Miranda warnings. Hinds made a

statement regarded as a confession.

      Hinds is charged with: (1) one count of possession with intent to

distribute a controlled substance in violation of 21 U.S.C. § 841; (2) felon in

possession of a firearm in violation of 18 U.S.C. § 922(g); and (3) possession

of a firearm in furtherance of a drug trafficking crime in violation of 18 U.S.C.

924(c) Before the Court is Hinds’ motion to suppress. [ECF No. 54]. He asks

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the Court to suppress one statement. The Court held an evidentiary hearing

on May 10, 2021.

        For the reasons set forth below, the Court GRANTS Hinds’ motion to

suppress.

   I.     BACKGROUND

        Around midnight on November 23, 2017, Detroit Police officers Daniel

Harnphanich (“Harnphanich”) and Christopher Bush (“Bush”) patrolled what

they called a “high crime area” that they typically drive through two to three

times a night. They observed three individuals in a smoke-filled minivan

parked in front of a vacant house. The officers believed the occupants were

smoking marijuana. They pulled their scout car alongside the van and

Harnphanich asked if its occupants were smoking. He also asked them

whether they had any “mags” or “burners,” both street terms for firearms, and

if it would be okay for him to check for “mags.” Harnphanich testified Hinds

immediately became defensive.

        Harnphanich exited the scout car and approached the van. He saw

plastic vials and Hinds rolling loose marijuana in smoking paper.

Harnphanich asked if it was “just weed.” Hinds replied that he had a

marijuana card. Harnphanich asked again whether there were “burners” in


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the van. Hinds said there was nothing in the van and asked why the officers

wanted to search it. Harnphanich told Hinds that he could search the van

because Hinds was not transporting the marijuana properly.

      Harnphanich says Hinds acted suspicious, so he told Hinds to place

the marijuana on the dash and step out to Bush. Bush opened the passenger

door while Hinds attempted to reach in his pocket — he says to get his

marijuana card. Harnphanich told Hinds to stop and told Hinds to step out

again. He asked Hinds if he had a pistol. Harnphanich said, “You’re making

me think you got a pistol, man.” Hinds said he did not have a pistol. He did

get out of the van for Bush to search him while Harnphanich opened the

driver’s door and searched the driver. After the officers completed the

searches, Harnphanich walked the driver to the squad car and told Bush to

cuff Hinds and the driver together because Hinds was, “acting up.” There is

no evidence of this on the bodycam.

      The driver asked, “We’re not under arrest, we’re being detained right?”

While the government says the officers told the occupants they were not

under arrest, the bodycam footage does not capture this.

      Harnphanich returned to the van and asked the third occupant to step

out. He then searched the van. He found a bag underneath Hinds’ seat,


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opened it, and looked at the contents. Harnphanich walked away from the

van and said, “King David on the passenger.” Harnphanich asked Hinds if he

had a “heroin card” or “a crack card.” Harnphanich returned to the van,

placed the bag on the seat, and searched it again. He walked back to the

scout car with the bag in hand and said, “Beautiful, and a Eureka.”

      Harnphanich stood at the scout car. The occupants stood in front of

the car and watched Harnphanich as he took a gun out of the bag and placed

it on the hood. One of the occupants asked, “What’s a Eureka?” Harnphanich

explained that “Eureka” is a pistol and asked if they had a pistol license.

Harnphanich continued removing the bag’s contents and placing things on

the hood. The bag also contained crack cocaine, heroin, and a small digital

scale. Harnphanich asked the driver if there was, “anything else in the car

that [he] should know about?” Before the driver answered, Hinds interjected,

“No, he don’t” “It’s all me, bro.” and asked to see a lawyer. Despite listening

to the bodycam footage numerous times, both before and during the hearing,

the statement “It’s all me, bro” is not clearly heard by the Court.

      Harnphanich testified that within three to five minutes after Hinds made

the statement, they uncuffed him from the driver, cuffed his hands behind his

back, and placed him in the scout car. Harnphanich says within ten minutes,

his supervisor and two other officers arrived on the scene. He says that he
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did not Mirandize Hinds because the Detroit Police Department’s policy is

that the arresting officer does not give Miranda warnings. Instead, the

arresting officer typically waits for an investigator to arrive to do this.

Harnphanich estimates Hinds was mirandized “probably 15 minutes” after

the officers placed him in the scout car.

   II.      ANALYSIS

         Hinds says the Court should suppress the statement “It’s all me, bro”

because he was not Mirandized when he said it in response to questioning.

The government argues Hinds was merely detained during a “routine traffic

encounter,” which did not trigger Miranda protections because such

encounters are more akin to Terry stops.

         The Court must decide: (1) whether Hinds was in custody when he

made the challenged statement and (2) whether the statement was the

product of Harnphanich’s interrogation.

            A. The Detention Exceeded the Typical Traffic Stop

         The government says Hinds was not entitled to Miranda protection

because the officers only conducted a Terry-style traffic stop.

         Individuals temporarily detained pursuant to “ordinary” traffic stops are

not “in custody” for purposes of Miranda because ordinary traffic stops are


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inherently less coercive than custodial interrogations. Berkemer v. McCarty,

468 U.S. 420 (1984). But, the Berkemer Court held, “[i]f a motorist who has

been detained pursuant to a traffic stop thereafter is subjected to treatment

that renders him ‘in custody’ for practical purposes, he will be entitled to the

full panoply of protections prescribed by Miranda.” Id. at 440.

      The prominent, defining features of a typical traffic stop are: (1) it is

“presumptively temporary and brief,” and (2) “circumstances associated with

it are not such that the motorist feels completely at the mercy of the police”.

Id. at 437-38. Because the typical traffic stop is “substantially less ‘police

dominated’ than that surrounding the kinds of interrogation at issue in

Miranda it is more akin to a Terry stop.” Id. at 439. What constitutes “in

custody,” even in the context of a Terry-type traffic stop, must be determined

“on a case-by-case basis.” United States v. Schultz, 442 F.Supp. 176, 181

(D.Md. 1977).

      The first Berkemer factor — that the stop was presumptively temporary

and brief — weighs in the government’s favor. Harnphanich’s bodycam

footage confirms that.

      But, the second Berkemer factor — whether the motorist felt

completely at the mercy of the police — weighs heavily in Hinds favor. The


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government contends that since the questioning took place outside in a

public space, and the officers told Hinds and the other occupants of the van

that they were not under arrest, this was merely a Terry traffic stop.

      Stops in public places must be carefully scrutinized in the context of

the totality of the circumstances. Id. Hinds detention occurred on a public

street in Detroit. Although a public area may not imply custody, multiple

officers and vehicles can “transform [ ] that benign public place into a

restrictive area of confinement, which also tips the scales in favor of

Defendant.” United States v. Jimenez-Robles, 98 F.Supp.3d 906, 917 (E.D.

Mich. 2015).

      The Court also considers the restraint on Hinds’ freedom. See United

States v. Swanson, 341 F.3d 524, 530 (6th Cir. 2003). Although the officers

testified that the occupants were not under arrest when Hinds gave the so-

called confession, they admitted that Hinds and company were not free to

leave while Harnphanich searched the van. Moreover, the officers

handcuffed Hinds and the driver together. This obvious restraint on Hinds’

freedom weighs in favor of the Court finding he was in custody. Id.

      From the beginning of the encounter, the officers asked the occupants

repeatedly about weapons and drugs. Officers are permitted to ask


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questions about weapons that are specifically related to the “legitimate and

weighty” consideration of officer safety. Pennsylvania v. Mimms, 434 U.S.

106, 110 (1977). Although Hinds answered that there was not a gun inside

the van, Harnphanich recovered one during his search. Harnphanich

continued to question Hinds about the gun after Hinds and the driver were

cuffed together and there was no longer a concern for officer safety.

Continuing to question Hinds after the officers already had evidence of an

arrestable federal offense weighs against the government’s argument that

this questioning was part of a typical traffic stop.

      If this were an “ordinary” traffic stop, the officers would have verified

the occupants’ identity, issued them a citation for the misdemeanor crime of

improperly transporting marijuana, and allowed them to leave. See Jimenez-

Robles, 98 F.Supp.3d at 916. But, the officers continued the occupants’

detention. As the Supreme Court expressed in Berkemer, if an individual

detained during a traffic stop is thereafter subjected to treatment that renders

him in custody for practical purposes, he is entitled to the full panoply of

protections prescribed by Miranda. 468 U.S. at 440.

      This encounter began as a typical traffic stop. The officers saw smoke

and the occupants admitted they had marijuana. A Terry stop is appropriate

when officers see a smoke-filled vehicle and the occupants admit to the
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possession or use of marijuana. See United States v. Thomas, 2019 WL

5677503 at *2 (N.D. Ohio Nov 1, 2019) (The search of a vehicle was

appropriate after an officer initiated a traffic stop, saw smoke billowing out of

the driver side door as he approached, noticed the plain smell of smoke, the

passenger displayed a partially smoked blunt, and the driver admitted that

he smoked marijuana). The officers continued to question Hinds about

contraband in the van without Mirandizing him although they had knowledge

that there were already grounds for an arrestable offense. After the officers

found the gun, the dynamics of the encounter changed and transformed into

a custodial detention.

      The Court finds Hinds’ detention exceeded the typical traffic stop

described in Berkemer. This quickly became a police dominated encounter.

The Court now turns to whether the officers subjected Hinds to a custodial

interrogation.

         B. Hinds Was in Custody

      While the detention exceeded the typical traffic stop, the question is

whether Hinds was in custody for Miranda purposes. Whether a person is “in

custody” is a mixed question of fact and law. Jimenez-Robles, 98 F.Supp.3d

at 913. (citing Swanson, 341 F.3d at 528). The answer turns on “whether

there has been either a ‘formal arrest’ or a restraint on freedom of movement
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 of the degree associated with a formal arrest.’” Id. The Court must consider

 the totality of the circumstances. Id. In Swanson, the Sixth Circuit discussed

 the factors a court should consider in deciding whether a person is in

 custody:

             (1) Whether a reasonable person in the defendant’s
             position would feel free to leave; (2) the purpose of
             the questioning; (3) whether the place of the
             questioning was hostile or coercive; (4) the length of
             the questioning; and (5) other indicia of custody such
             as whether the suspect was informed at the time that
             the questioning was voluntary or that the suspect
             was free to leave or to request officers to do so;
             whether the suspect possessed unrestrained
             freedom of movement during questioning; and
             whether the suspect initiated contact with the police
             … [or] acquiesced to their requests to answer some
             questions.

 Swanson 341 F.3d at 529. The Court evaluates the Swanson factors as they

 relate to Hinds.

                    1. Whether a reasonable person would feel free to
                       leave

       The officers testified that the occupants were not free to leave. Bush

 testified that had they attempted to leave, he and Harnphanich would have

 gone after them. The officers also cuffed Hinds and the driver together,

 restraining their movement and making it more difficult to leave. Swanson

 recognized that “in the context of a Terry-style investigatory detention, a


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 person is not free to leave, at least temporarily.” Id. This factor weighs in

 favor of a conclusion that Hinds’ detention was a custodial interrogation.

                    2. Purpose of questioning

       The government says the purpose of the questioning was to ask the

 driver about the unsearched portion of the van. The statement Hinds seeks

 to suppress was elicited right after Harnphanich recovered the contraband

 from the van, reported a “King David” and a “Eureka,” sarcastically asked

 Hinds whether he had a “heroine card,” “crack card,” or “pistol license,” and

 had placed the contraband on the hood of the scout car as the occupants

 looked on.

       At the evidentiary hearing Harnphanich testified he asked the driver if

 there was, “anything else in the car that [he] should know about.”

 Harnphanich says Hinds answered for the driver, “No, he don’t.”

 Harnphanich then asked Hinds, “So, is this all you?” Hinds responded, “It’s

 all me, bro.”

       The Court asked Harnphanich if the question, “So, is this all you?” one

 that would elicit incriminating information. Harnphanich answered,

       “When I asked, ‘is this all you,’ [Hinds] was answering for Mr.
       Sinegal [the driver], [that the gun] wasn't his. So I was trying to
       ascertain, if this is not [Mr. Sinegal’s], is this all you? So I did ask
       him in the form of a question and it would be incriminating, yes.”
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 Harnphanich also testified, “when the investigation came to the point where

 [he] saw the guns and drugs … somebody was going to be arrested and it

 was mostly in [his] mind Mr. Hinds.” After they recovered the gun, the officers

 knew they were investigating an arrestable felony crime and continued to ask

 potentially incriminating questions.

       The purpose of the questioning that elicited the challenged statement

 was not permissible under Swanson. This factor weights in Hinds’ favor.

                   3. Place of questioning

       The third factor is whether the place of questioning was hostile or

 coercive. The Court discussed this factor as it analyzed whether this was a

 typical traffic stop. The place of Hinds’ detention is distinguishable from that

 in Swanson, where the questioning happened in the presence of a team of

 federal agents and with seven or eight other members of the public in

 proximity. Id. at 529.

       Although the questioning happened on a public street, this factor

 weighs in favor of Hinds. The two officers questioned Hinds on a dark street

 with vacant houses, in a “high crime area,” and the officers did not turn on

 the lights on their scout car. They cuffed him. None of these conditions were

 present in Swanson. In that case, the defendant was explicitly told he was

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 not under arrest and was free not to speak if he chose not to do so. Id. at

 530. The bodycam footage does not show the officers telling the occupants

 they were not under arrest or that they were not required to speak to the

 officers.

                   4. Length of questioning

       The bodycam footage shows that the officers questioned Hinds for at

 least four minutes. The video concluded after that, but Harnphanich testified

 the officers placed Hinds in the back of the scout car about three to five

 minutes after he made the challenged statement. The officers believed Hinds

 was under arrest at that point and waited for additional officers to arrive and

 give Miranda warnings. Although the Court cannot confirm the exact length

 of the questioning, this was not a prolonged encounter. This factor weighs in

 favor of the government.

                   5. Other indicia of questioning

       The Court also evaluates other indicia of questioning. Other indicia

 includes whether Hinds acquiesced to requests to answer questions. The

 Court acknowledges Hinds answered some questions such as whether he

 had marijuana, who the van belonged to, and whether he had a pistol. These

 factors weigh in the government’s favor.



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       An additional consideration is whether Hinds possessed unrestrained

 freedom of movement during the questioning. He did not. Hinds and the

 driver were almost immediately cuffed together until the officers removed the

 cuffs from the driver and handcuffed Hinds by himself. At the end of the

 encounter, Harnphanich says he placed Hinds under formal arrest. Hinds did

 not have unrestrained freedom of movement during this encounter.

       Possibly most important under the analysis is whether the officers

 informed Hinds at the time of questioning that he was free to leave. Id. The

 Court heard the driver ask the officers whether the occupants were under

 arrest or just being detained, but after reviewing the video multiple times the

 Court did not hear a response. The officers say they told the occupants that

 they were not under arrest. Still, even if the officers explicitly told Hinds he

 was not under arrest, they testified Hinds was not free to leave as soon as

 they approached the car and saw him rolling loose marijuana.

       The facts demonstrate Hinds was not free to leave when he made the

 incriminating statement.

       Based on the Swanson factors, the totality of the circumstances weighs

 in favor of the Court finding Hinds was in custody.




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          C. The Police Subjected Hinds to the Functional Equivalent of
             a Custodial Interrogation
       The government argues Hinds was not interrogated because he

 interjected himself into a question about the contents of the van directed to

 the driver.

       The Fifth Amendment of the United States Constitution provides that

 “no person … shall be compelled in any criminal case to be a witness against

 himself.” U.S. Const. amend. V. To ensure this right, the Supreme Court held

 in Miranda v. Arizona, 384 U.S. 436 (1966) that a suspect subjected to a

 custodial interrogation must first have notice of his right against self-

 incrimination. Statements elicited during a custodial interrogation from a

 suspect not advised of his Miranda protections generally may not be

 admitted into evidence. Stansbury v. California, 511 U.S. 318, 322 (1994).

       Once a person is in custody, the Supreme Court held Miranda

 safeguards apply whenever that person is subjected to either “express

 questioning or its functional equivalent.” Rhode Island v. Innis, 446 U.S. 291,

 301 (1980). The “functional equivalent” to “express questioning” are words

 or actions that officers “should know are reasonably likely to elicit an

 incriminating response.” Id. Simply put, the definition of “interrogation”

 extends “to words or actions on the part of … police officers that they should



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 have known were reasonably likely to elicit an incrimination response.” Id. at

 302.

           Harnphanich admitted when he asked Hinds, “So, is this all you?” in

 an effort to understand whether the contraband belonged to Hinds, that he

 “did ask [Hinds] in the form of a question and it [was] incriminating.” The

 officers say that they were continuing their investigation. They were free to

 continue their investigation, but not without giving the proper Miranda

 warnings. The officers subjected Hinds to the functional equivalent of

 express questioning.

    III.     CONCLUSION

           By the time Harnphanich asked “So, is this all you,” the Swanson

 factors were satisfied. Considering the totality of the circumstances, the

 Court concludes that Hinds was in custody and subject to the functional

 equivalent of express questioning, to which he answered “It’s all me, bro.”

 Hinds was entitled to Miranda warnings at that juncture.

           The Court GRANTS Hinds’ motion to suppress. The statement “It’s all

 me, bro” is suppressed.




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       ORDERED.

                                                s/ Victoria A. Roberts
                                                Victoria A. Roberts
                                                United States District Judge

 Dated: May 20, 2021




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